        Case 22-11130-elf                  Doc 18 Filed 06/02/22 Entered 06/03/22 00:34:37                                             Desc Imaged
                                                 Certificate of Notice Page 1 of 3
                                                              United States Bankruptcy Court
                                                              Eastern District of Pennsylvania
In re:                                                                                                                 Case No. 22-11130-elf
Sadie Smith                                                                                                            Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0313-2                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: May 31, 2022                                               Form ID: pdf900                                                            Total Noticed: 4
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 02, 2022:
Recip ID                 Recipient Name and Address
db                     + Sadie Smith, 6515 North 7th St, Philadelphia, PA 19126-3818

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
smg                       Email/Text: megan.harper@phila.gov
                                                                                        Jun 01 2022 03:38:00      City of Philadelphia, City of Philadelphia Law
                                                                                                                  Dept., Tax Unit/Bankruptcy Dept, 1515 Arch
                                                                                                                  Street 15th Floor, Philadelphia, PA 19102-1595
smg                       Email/Text: RVSVCBICNOTICE1@state.pa.us
                                                                                        Jun 01 2022 03:38:00      Pennsylvania Department of Revenue, Bankruptcy
                                                                                                                  Division, P.O. Box 280946, Harrisburg, PA
                                                                                                                  17128-0946
cr                     + Email/PDF: gecsedi@recoverycorp.com
                                                                                        Jun 01 2022 03:50:02      Synchrony Bank, c/o PRA Receivables
                                                                                                                  Management, LLC, PO Box 41021, Norfolk, VA
                                                                                                                  23541-1021

TOTAL: 3


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 02, 2022                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 31, 2022 at the address(es) listed below:
Name                               Email Address
BRAD J. SADEK
                                   on behalf of Debtor Sadie Smith brad@sadeklaw.com
        Case 22-11130-elf       Doc 18 Filed 06/02/22 Entered 06/03/22 00:34:37                                Desc Imaged
                                      Certificate of Notice Page 2 of 3
District/off: 0313-2                                    User: admin                                                  Page 2 of 2
Date Rcvd: May 31, 2022                                 Form ID: pdf900                                             Total Noticed: 4
                          bradsadek@gmail.com;sadek.bradj.r101013@notify.bestcase.com;documents@sadeklaw.com

JILL MANUEL-COUGHLIN
                          on behalf of Creditor PENNYMAC LOAN SERVICES LLC bankruptcy@powerskirn.com

KENNETH E. WEST
                          ecfemails@ph13trustee.com philaecf@gmail.com

LILY CHRISTINA CALKINS
                          on behalf of Creditor U.S. Bank National Association as Trustee MERRILL LYNCH FIRST FRANKLIN MORTGAGE LOAN
                          TRUST, MORTG logsecf@logs.com, lcalkins@logs.com

United States Trustee
                          USTPRegion03.PH.ECF@usdoj.gov


TOTAL: 5
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                                 Certificate of Notice Page 3 of 3



                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

     IN RE:                                           :
               Sadie Smith                            :    Chapter 13
                                                      :    Case No.: 22-11130-ELF
               Debtor(s)                              :

                                             O R D E R

               AND NOW, this      TU     day of
                                                         .BZ            , 2022, upon

     consideration of the within Motion to Extend Time to File Required Documents, it is

     hereby:

               ORDERED that the Motion that is GRANTED, and the Debtor is given an

              extension to file all required documents with the Court on or before May 3, 2022.




                                          ______________________________________
                                          ERIC L. FRANK
                                          U.S. BANKRUPTCY JUDGE
